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American Medical Response, Inc. v. City of Stockton
United States District Court- Eastern District No. 2:05-CV-01316-DFL-PAN

EXHIBIT 1
Case 2:05-cv- 06 sav-EFE Document 77-4 Filet?08/31/05 Page 2 of 23

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—. COPY ..

June 25, 2005

HAND DELIVERED —

City Manager

City of Stockton

425 North El Dorado Street
Stockton, CA 95202

RE: Discontinuance of Negotiations
‘Dear Mark:

I haye reviewed your letter of June 24, 2005, where you commented on what you
a believed were the three reasons that 1 referenced for AMR’s discontinuance of
@ negoljations during our meeting yesterday. 2

4 oe
WhildI don’t want to get into a war of letters, I felt it important that I clarify two of the
three feasons you sited. (1) AMR’s “testing” of the members of the San Joaquin County
Board)f Supervisors was limited to their tolerance for inclusion of costs not related to
the ‘delivery of Emergency Ambulance Services, thereby causing significantly higher
rates td the citizens of the County, and-not whether they were supportive ofa

public/private joint venture approach ‘to responding to the up and coming RFP. (2) The
‘reference you draw to the'commentts 1 made regarding my reputation and that of AMR’s
are alsoinaccuraté. My statement was that AMR and I would not damage our reputations
by submitting a proposal to the, county that was either not responsive or non-competitive
due to the inclusion of excess cost not related to the provision of Emergency Ambulance

Services.

In closing, we regret that our organizations were unable to conclude agreements to submit
a joint proposal.

Sincerely,

Louis K. Meyer
Chief Executive Officer
@ | Northwest-Plains Region

Case »-05.cv-0.MRS-IAN-EFS Document 77-4. Filed 08/31/05 Page 3 of 23
remy

r Ed Chavez, CityofStockton «

foe Steve Bestolarides, Council Member District 1
Hon. ‘Dan Chapman, Council Member District 2 ict 3
Hon. Leslie Baranco Martin, Council Member District
Hon. Clem Lee, Council Member District 4 a

~ Hon. Gary S. Giovanetti, Council Member District 5
Hon. Rebecca Nabors, Council Member District 6
Gary Gillis, Fire Chief

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EXHIBIT 2
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Per Bis era eke

June 24,.2005

HAND DELIVERED

Mark Lewis

City Manager

City of Stockton

425 North El Dorado Street
Stockton, CA 95202

RE: Discontinuance of Negotiations

Dear Mark:

This letter memorializes our discussion today, in which I indicated that AMR is _
no longer able to negotiate with the City over the creation of a joint venture to submit a proposal:
to the County of San Joaquin to perform emergency ambulance services.

As [ explained today, my staff and I have spent countless hours meeting with City
of Stockton Fire Department (“Department”) personnel in an attempt to reach agreement on the
terms of a joint venture agreement that would permit the parties to submit a joint proposal to the
County in response to the upcoming ambulance RFP. In these negotiations, we have repeatedly
indicated that our goals were to form an alliance capable of providing high quality emergency .
medical services in an efficient and cost effective manner. The County has also made it clear
that the contract will not be awarded to a bidder whose proposal includes excessive costs
unrelated to the delivery of high quality ambulance services. Nor would a contract burdened
with high costs and correspondingly high user fees be in the best interests of the City’s or the
County’s residents.

Despite our best and most diligent efforts to reach agreement with the

Department, it is now clear to us that the Department is not negotiating in good faith, and that it
will not be possible to forge an alliance capable of either winning the contract or of delivering
high quality, cost effective emergency services. This is perhaps best illustrated by the e-mail we
received from Department leadership, dated June 21, in which Assistant Chief Dave Hafey
proposed, for the first time, to insert language into the Draft Memorandum of Understanding
(“MOU”) we have been working on for months that would require AMR to pay the City a “SFD
Management Fee” and an “Oversight Fee.” In addition, the Department has included new
language requiring that AMR pay the City to house up to four ALS units and also to house

" “office and medical supply management.” As we have repeatedly stated, adding these kinds of
superfluous and unnecessary costs to the proposal is not feasible and is completely inconsistent
with our prior understandings.

023.271870.1 245 W. Charter Way, Stockton, CA 95206-1704 , {
(209) 948-6730 - Fax (209) 948-6532 AMR 002583
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Mark, the crux of the problem appears to be the City’s need to make up for past
losses. Department personnel have repeatedly indicated that the City views the County Contract
as a means of recouping the losses the City.incurred in operating an ambulance service over the
last several years. In one meeting, for example, Dave Hafey said that the City needed to generate

_ sufficient revenue from the contract to “repay the loan” that the ambulance service had incurred
to the City general fund. We have reiterated, time and time again, that this is unacceptable.
(See, for example, my letter of March 21, 2005.) We have further stated that the user fee
structure should not be any higher than needed to support a self-sustaining program going
forward. The City has expressed agreement with this concept, but then time and time again has
reneged on that position and made the kind of demand set forth in the recent Hafey e-mail. Even
today, you referred to “millions of dollars” in costs that you believe were incurred in reliance on
the expectation that the joint venture would win the Contract. We cannot imagine the City has
incurred even $100,000 in costs in negotiating this transaction. Were you referring to the money
lost to date in the City’s existing ambulance program that the City expected to recoup from
future ambulance user fees if the joint venture won the contract?

What we find particularly distressing about the Department’s position as reflected
in the Hafey e-mail is that it runs directly counter to what we thought were firm understandings
regarding the content of our MOU. However, as has happened on several prior occasions,
commitments made to us by City personnel have been disregarded by the Department as if they
were never made. It appears that the Department’s goals are to balance its budget, both current
and past, on the backs of County and City residents who require ambulance services in the
future.

Another example of the City’s bad faith is its failure to disclose the Hughes
lawsuit filed on May 14, 2004, alleging violations of the Fair Labor Standards Act by the City
dispatch center. That lawsuit represents a major potential liability to the joint venture that the
City had a duty to disclose. Rather than disclose it, the Hafey e-mail attempts to lock in funding
for the center despite the potential additional costs that were, until today, unknown to AMR.

At this juncture, AMR has determined that it will not be possible to work with the
Department in a collaborative relationship to achieve the goals specified above. Although the
City Manager’s office has made unsuccessful attempts to intercede, it is the Department that
AMR would need to work with in submitting the proposal, and we do not think that is possible.
Consequently, AMR intends to proceed with its own proposal to be submitted to the County.
Providing the City with notice at this time should also provide the City with plenty of time to
prepare its own proposal. ° :

Finally, we have determined that our decision does not violate the joint venture
document previously signed by the parties. As we have discussed with your City Attorneys, that
agreement is void and unenforceable. Even if it were enforceable, it would, at most, require the
parties to negotiate in good faith in pursuit of a definitive operating agreement to be submitted to
the County as part of a joint proposal. AMR has done so but the City has not.

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In closing, we regret that our organizations were unable to work together towards
the worthy goal of implementing a high quality EMS system. If you have any questions, please
do not hesitate to contact me.

Very truly yours,

eH

Chief Executive Officer
Northwest-Plains Region

cc Mayor Ed Chavez, City of Stockton
Hon. Steve Bestolarides, Council Member District 1
.Hon. Dan Chapman, Council Member District 2
‘Hon. Leslie Baranco Martin, Council Member District 3
Hon. Clem Lee, Council Member District 4
Hon. Gary S. Giovanetti, Council Member District 5
Hon. Rebecca Nabors, Council Member District 6

La,

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EXHIBIT 3
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Patient Focused, Caregiver Inspired, Customer Centered

MEMORANDUM

DATE: April 12, 2004
TO: Lou Meyer
FROM: Brad White
SUBJECT: Area Brief

Global

* Multiple conference calls and individual meetings/discussions have taken place
with regard to revenue enhancement and cost containment with each business
unit. Each business unit has been tasked to build an action plan but has not waited
to implement. Final documents are due to the VPO this Wednesday.

Sacramento

. Sacramento Metropolitan Fire District transport requests are declining. SMFD has added
__UN’s. Meeting being arranged to turn this trend around.

Placer/Yolo

° The State EMSA has approved 224 rights for AMR. Contract negotiations to begin
shortly with SSVEMSA.

San Joaquin

° Since the beginning of FY04 two providers of six have exited or have announced that
they are exiting by May 2004. Unfortunately, due to other providers adding units, total
system UH’s remain unchanged.

e Preliminary RFP work is underway with SFD and Al Ambulance. Anticipate LFD

_joining the Joint Venture by May 2004.

Calaveras

e Anticipate the release of an RFP in July 2004

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Contra Costa

e SEIU and Local 1230 are partnering to stop AMR’s opportunity for a 3-year sole source
agreement, forcing the system to bid.
o SEIU is believed to be dog this for two reasons:
* Revenge for AMR’s perceived support of MEMSA
* Protecting two paramedic system
o Local 1230 wants and RFP to push for more FD funding than was made available
by the county as part of the sole source agreement.

Stanislaus

e Negotiations are underway with the county to mcrease AMR’s annual fees supporting the
EMSA from 40k to as high as 180k. The county has indicated that they will allow a UCR
increase to offset the fee (estimate 3%). In addition, we have asked for consideration to
amove the Blue Zone 7:30 minute / 90% clock to an 8:00 minute / 90% clock. We are not
currently meeting compliance in this single zone and will be adding UH’s. The EMSA
appears open to this action.

Tulare
* No high profile issues.
Hawaii

@ Kaho’olawe project ended April 8°.

@ Maui County EMS helicopter implementation (July 1, 2004) i is stalled in the
political process. Unknown if the project will come to fruition. Pacific Helicopters
has stated that they will be selling the Kaho’olawe medical helicopter in 90-days
if the State does not make a commitment to the project.

e Honolulu FD is being openly discussed as a solution to City and County EMS.
AMR is positioned to be a player with either entity.

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EXHIBIT 4
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Patient Focused, Caregiver Inspired, Customer Centered

CONFIDENTIAL MEMORANDUM |

DATE: June 30, 2004

TO: Lou Meyer

FROM: Brad White

SUBJECT: Hiring of Donna McCann

cc? Chief Gillis, Barry Ehig, Division Chief Hafey, Captain Ed Rodriguez

History

Ms. McCann (Donna) has verbally advised that she desires to remain part of the Jomt
Venture. All A-1 Ambulance transportation services have ceased.

Donna was asked about her interest in employment with AMR. Donna stated that she is
still working her old accounts receivable and would be willing to immediately begin
work three days per week. Ms. McCann further stated that she needs $72k annually. Ms.
McCann was advised that $72k annually was not possible and that her limited hours of
availability further reduced her potential earning power. In a follow up conversation,
Donna stated that she was open to an offer below 72k and that she would consider —
working more hours. .

AMR / SFD Discussion
The following employment concepts were considered:

e JVA/LLC Supervising Coordinator (Donna would be tasked to coordinate various
activities during the pre and post RFP process.) |
-e JVA/LLC Safety Coordinator (Donna would act as the Safety Coordinator for
both AMR and SFD, supported by Dave Cavaro or Chris Pollard)
¢ Patient Billing Services Quality Coordinator (Donna to review billing paperwork
for both SFD and AMR to support targeted EE education)
e Continuing Education Coordinator

Salary to be split equally between SFD and AMR

AMR 004105
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Recommendation

e AMR will offer Donna employment (with AMR) as a Patient Billing Services
" Quality Coordinator (preliminary job description attached).
® The offer will be structured as a consultant or contract employee as human
resources determines appropriate. {Donna has stated she does not need health
benefits).
e Employment location AMR Lindsay Street
e Wage Recommendation $23.00 hourly
° _ Wage Comparisons (AMR Clinical Education Coordinator)
* Low 35,400. High 53,200 (Salaried)
" Low17.02 High 25.58 (Hourly)
o Total annual estimated cost per agency (yet to be determined)
AMR to invoice SFD monthly for 50% of Salary and Benefit costs
o Further discussion required with SFD to secure concurrence and determine
process. .

Next Steps

1. SFD agree on parameters noted above — Ed/Dave

2. AMR agree on parameters noted above - Brad

3. Confer with AMR Human Resources to determine EE status (F/T, P/T,
Contract/Consultant) - Brad

Confer with AMR finance to determine full cost of wages and benefits - Brad
Establish reimbursement process from SFD to AMR — Barry/Ed/Dave

Make job offer and discuss A-1 participation in the JVA - Brad

Complete pre-employment and orientation processes - Barry

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se 2:05-cv-01316-JAM-EFB Document 77-4 Filed 08/31/05 Page 15 of 23

Message Page 1 of l

> Au, Angela ,
White, Brad

From:
Sent: | Monday, April 04, 2005 2:56 PM

To: Meyer, Lou; Dorn, Tim; Elzig, Barry
Subject: FW: EMS marginal costs

Welt, Lodi blinked — 88k down to 19k. Tim, please build this number into the plan for 5 engines. We still have an open
issue as one of their Sis a truck housed with an engine. However, if 94k does not break the bank we may wish to seal up

Lodi prior to the Stockton war on the 15".

From: Mike Pretz [mailto:mpretz@lodi.gov]

Sent: Monday, April 04, 2005 9:28 AM

To: White, Brad
Cc: Dave Hafey; Janice Magdich; Christopher Platten
Subject: EMS marginal costs

Brad,
- Here are the Lodi Fire Department marginal cost for sub-contract BLS service. Annual $94,146 or $18,829 per unit.

Michael Pretz

Fire Chief

Lodi Fire Department
(209) 333-6735

AMR 000266
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Se eeaeee ce 011.009 Wy Wd OVW 129) 1) SO

March 21, 2005

Gary Gillis, Chief
Stockton Fire Department
425 North El Dorado Street
Stockton, CA 95202

Dear Chief Gillis,

As you are aware, on or about April 15, 2005, San J oaquin County will release an EMS
Request for Proposals (RFP). Time is extremely short for the City of Stockton (Stockton)
and American Medical Response (AMR) to address and bring to closure several key
. issues that remain unresolved if the parties are to complete the formation of a limited
lability company (“LLC”) as contemplated by the new MOU the parties have negotiated.
AMR is very concerned that these issues, if not resolved prior to release of the REP, will
place the proposed LLC, its members, and subcontractor in untenable positions, requiring ~
the parties to seek other options with regard to the development of a proposal that can
deliver cost-effective ambulance service to the citizens of San J oaquin County. Let me
_ State emphatically that AMR desires to resolve the following issues and move forward
with our original agreement of a equal parmership with the City of Stockton.

Stockton Prior Financial Losses: Stockton has made clear that it must recoup prior
ambulance service financial losses of $3,509,318. AMR has made clear its position that
it will not consider submitting a proposal to the. County that includes an increase in -
patient charges intended to permit Stockton to recoup prior financial losses. Based on an
estimated marginal collection rate, additional gross patient charges of over $17,000,000
million dollars would be required to pay off this loss over the life of a5 -year contract,
thereby making the LLC’s Proposal to the County non-competitive. AMR in good
conscience cannot support Stockton’s request to pass these costs onto future consumers

of ambulance services through the LLC.

City of Stockton ALS First Responder Fees: Stockton has presented ALS First .
Responder fees to be borne equally by the LLC parties in the total combined amount of
$780,000 annually. AMR concurs with Stockton that the residents of Stockton. and the
EMS system benefit from ALS first response and that the LLC should include as part of
patient charges the reasonable marginal cost of said services. Based on an estimated

Amexuprrl<

Deponent (CGEM _
Date £08 Rpt. Si

WWW.DEPOBOOK.COM

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7575 Southfront Road, Livermore, Ca 94551
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marginal collection rate, additional gross patient charges of over $3,900,000 would be
required to pay this level of first responder fees annually. Over the life of a 5-year
contract, the total gross patient charges would be over $19,000,000. AMR requests that
Stockton reconsider the level of first responder. funding to ensure the LLC proposal is
competitive and, if awarded the County agreement, that the rates charged are fair to the
citizens of Stockton and San Joaquin County. In addition, AMR will require that the total
combined annual cost of first responder fees be paid by the LLC prior to revenue

disbursement to the parties.

LLC Paying for One 24-Hour Stockton Ambulance: At a March 11, 2005 meeting
between Stockton and AMR, Stockton presented a financial proposal that included the
LLC bearing the direct cost of one 24-hour ambulance operated by Stockton. The stated
goal was to ensure full cost recovery by Stockton and to ensure that revenues disbursed
by the LLC following payment of direct LLC costs would provide sufficient revenues to
pay for Stockton’s prior operating losses. AMR in good conscience cannot support
Stockton’s request to pass prior losses onto future consumers of ambulance services

_ through the LLC.

City of Stockton, Initial Unit Hours and Revenue Disbursement: AMR restates its
position that initial system unit hours will be an equal and even number, and that LLC
revenue, following payment of direct LLC costs, will be disbursed equally to the

members.

. City of Lodi — Subcontractor to LLC: Ata March 7, 2005 meeting of Lodi, Stockton,
and AMR, AMR presented a separate MOU between AMR and Lodi for first responder

' fees and other issttes specific to EMS operations in Lodi. Both Stockton and Lodi
demanded that Lodi be included in the proposed system. as a subcontractor to the LLC.
AMR specifically asked if the LLC would pay the Lodi first responder and other fees,
and all parties agreed it would. Based on this discussion, AMR agreed to the inclusion of
Lodi in the system as a subcontractor to the LLC. At a March 11, 2005 meeting of
Stockton and AMR, Stockton rescinded its agreement that the LLC will pay Lodi’s first

‘responder and other fees. AMR could agree that the LLC would not pay Lodi’s first
responder and other fees, so long as Lodi is not part of the system as a contractor to the
LLC and a separate MOU is negotiated directly between AMR and Lodi. Since the LLC
bears no financial liabilities for Lodi, it should not have a contract with it.

Regional Ambulance Dispatch Center: During our March 11, 2005 meeting, Stockton
stated that its existing CAD was not built for the type of reporting that will be required by
the RFP. This challenge must be resolved in order for the LLC to meet mandatory
reporting requirements. AMR requests that Stockton identify the method by which it will
be able to meet reporting requirements. AMR’s Modesto CAD may be an option to
resolve this challenge. AMR will require that hardware and other cost to bring the AMR

Modesto CAD on-line for this need be bome by the LLC.

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Electronic PCR: AMR anticipates that the RFP will require a proposal to provide
. electronic patient care data collection and reporting. AMR proposes that the LLC
members utilize AMR’s proprietary electronic data system. The cost associated with
implementation, utilization, and maintenance should be borne by the LLC.

LLC Costs Prior to Revenue Disbursement to the Members: AMR recommends that
the following cost items be paid by the LLC ptior to profit disbursement to the members:

Stockton First Responder fees

Dispatch fees of the Members

Medical Director

CQI Registered Nurse or Paramedic

Electronic Clinical Data Capture Reporting System, and one FTE Technician |
. LLC bookkeeping and required audits _-

AMR Modesto CAD

Other items yet to be identified

NNAANAKK

As time is of the essence, AMR. requests that Stockton take immediate action to help-us :
" resolve these matters prior to April 7, 2005. If these issues remain unresolved, AMR will
do what it believes is necessary to assure that the County receives a cost-effective

proposal for the delivery of high quality EMS to its citizens.

Sincerely,

Lou Meyer “7 a
Chief Executive Officer

- Northwest-Plains Region

American Medical Response West, Inc.

cc: Brad White, Vice President of Operations, AMR
Barry Elzig, Director of Operations, AMR
Michael Hakeem, Esq.
Michael Scarano, Esq.
Mark Lewis, Stockton City Manager

CS 001809
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EXHIBIT 7
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"Ss *

CITY OF STOCKTON
St FIRE DEPARTMENT

CITY HALL « 425 N. El Dorado Street ¢ Stockton, CA 95202-1997 * 209/937-8801 * Fax. 209/937-8836
www.stocktongov.com

April 7, 2005

Lou Meyer, Chief Executive Officer - AMR West
Northwest-Plains Region

7575 Southfront Road,

Livermore, CA 94551

Dear Mr. Meyer,

Both the City Manager and | are encouraged by the progress our two
organizations made during our meeting on March 23, 2005. We identified the

- items listed and discussed below that were contained in your March 21, 2005
letter. You have our commitment to do what is necessary to work together to
resolve all issues so that our partnership will be able to present to San Joaquin
County a cost-effective proposal for the delivery of the highest quality emergency

_ ambulance transportation services. Our current Joint Venture Agreement (JVA)
is clear, your organization and mine are committed to participate as equal
partners in the RFP process; | want to assure you that my organization intends to
honor that JVA agreement as promised.

1. City of Stockton Prior Capital Assets:

The City of Stockton (City) understands AMR's position and agrees to
bring equal capital expenses to the proposed LLC.

2. City of Stockton ALS First Responder Fees:

Both AMR and the City have agreed to include, as part of the proposed

fee structure, a first responder fee. We also have an agreement that the

first responder fee was intended to fund the marginal costs of providing

paramedic services. The City agrees that marginal cost for one

paramedic per engine will be included as part of our proposed’ fee

structure to the County. ‘The City would like to further discuss and explore ©

ideas which would address marginal costs for ALS first response. Stockton

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3. LLC Paying for One 24-Hour Stockton. Ambulance:

Both AMR and the City have agreed to have the same amount of initial
ALS transport units, so there will be no need for the LLC to pay for one 24-
hour ambulance. The City would like to continue discussions over a
method of funding additional ambulances placed in service under the
rotation process defined in our JVA.

4. City of Stockton, Initial Unit Hours and Revenue disbursement:

The City agrees that the initial number of ALS transportation units will be
provided equally between AMR and the City. The City understands
AMR’s position that all LLC revenue shall be disbursed equally; we would
like to discuss..this matter further. The City believes that there will be
sufficient LLC revenue to provide AMR with an acceptable profit, cover ail
expenses and assure that the County receives a cost-effective proposal
for the delivery of high quality EMS to its citizens. The partnership has
been considering forming a LLC as the tool. that will allow for distribution of
revenue and in-kind services to provide value for a cost-effective propesal.
The City would like to continue meeting to explore ideas, which would
provide in-kind services and LLC revenue.

5. City of Lodi — Subcontractor to LLC:

The City and AMR agree that the LLC will contract with the City of Lodi for
services. Revenue from providing services within the City of Lodi
response area will be utilized for paying Lodi services.

6. Regional Ambulance Dispatch Center:

The City believes that the Regional Ambulance Dispatch Center CAD is
capable of reporting all mandatory reporting requirements.

7. Electronic PCR:

The City agrees to consider utilizing AMR’s proprietary electronic data
system. AMR has agreed to: provide the City with a demonstration of -
functions and price for utilizing AMR’s electronic data system. The City
would like to continue meeting on this issue and explore the option of in-

kind services for this system.

AMR 003064
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8. LLC Costs Prior to Revenue Disbursement to the Members:

As time is of the essence, the City has taken immediate action to begin to
resolve the above concerns and reorganize the Department's current
‘ambulance expenses. We are fortunate to have the commitment of
Stockton Firefighter's Local 456 to continue to work with both AMR and
the City to develop a cost-effective proposal for the pending County RFP

for ambulance services.

{| appreciate the fact that you have modified your April 7 deadline and have
agreed to meet on April 15 at 10:00 am at City Hall Fire Administration to further
discuss our mutual concerns. | believe that most, if not all, of our concerns will _
be resolved to mutual benefaction. The City will need to receive more
information on function and expense for the list of items that AMR has presented
within your letter dated March 21, 2005. If you could please bring the following

information to the meeting:

2004 AMR Statistics for Ambulance Zone B, specifically:
e AMR's 911 call volume
e AMR's 911 transport volume

« AMR’s revenue per transport
e Number of dedicated AMR ambulances per 24-hour period given in

unit hour.

| am looking forward to fi inalizing the terms cur partnership and | believe there is
light at the end of the tunnel, so to speak. If you have any questions please do

not hesitate to contact me.

Sincerely,

W. Gary Gillis, Fire Chief

Stockton Fire Department

425 North El Dorado Street
Stockton, CA 95202

3 AMR 003065
